     Case 3:16-cv-03334-S Document 142 Filed 04/24/19              Page 1 of 6 PageID 503



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

CHRISTIAN CLARKE ET AL                       §
                                             §
Individually and on behalf of                §
other similarly situated                     §
individuals,                                 §
                                             §
                      Plaintiffs,            §
                                             §
v.                                           §      C.A. NO. 3:16-cv-03334-S
                                             §
                                             §
TEXMASTERS EXPRESS INC. DBA                  §
TEXMASTERS EXPRESS MEDICAL                   §
COURIERS, STEPHEN C. MOORE,                  §
JASON E. MOORE, MARION MOORE                 §
DANIEL G. WEISSMANN                          §
                                             §
                        Defendants,          §


                      JOINT MOTION FOR COURT APPROVAL OF
                    SETTLEMENT AND DISMISSAL WITH PREJUDICE

        Plaintiffs, individually and on behalf of all other individuals who have filed consents to

join in this action, and Defendants Texmasters Express, Inc. dba Texmasters Express Medical

Couriers, Inc., Stephen C. Moore, Jason E. Moore and Marion E. Moore (“Defendants”) (herein

collectively referred to as the “Parties”) file this their Joint Motion for Court Approval of

Settlement and Dismissal with Prejudice in connection with Plaintiff’s minimum wage and

overtime compensation claims under the Fair Labor Standards Act, 29 U.S.C. § 201 et seq.

(“FLSA”), and in support show the Court the following:

        1.     On February 11, 2019, named Plaintiffs and their counsel and Defendants

Texmasters Express, Inc. dba Texmasters Express Medical Couriers, Inc., Stephen C. Moore,

JOINT MOTION FOR COURT APPROVAL OF
SETTLEMENT AND DISMISSAL WITH PREJUDICE – Page 1
   Case 3:16-cv-03334-S Document 142 Filed 04/24/19                 Page 2 of 6 PageID 504



Jason E. Moore, and Marion E. Moore and their counsel (“Defendants”) (collectively the

“Parties”) participated in mediation before Cecilia H. Morgan. At the mediation, the Parties

reached a settlement and executed the Memorandum Settlement Agreement, a copy of which is

attached. The Settlement Agreement provides for the payment of $60,000 by Defendants over a

period of 60 months, with Defendant Texmaster Express, Inc. dba Texmaster Express Medical

Couriers to secure the payment obligations of both the corporate and the three individual

Defendants with a $80,000 judgment subject to entry upon any uncured default in payment of

any installment of the $60,000. Upon any alleged default of payment, Plaintiffs will provide

written notice to Defendant advising of the default. Defendants will have ten (10) days from the

receipt of notice of default to cure the default. If no cure is made in the allowed time period,

notice of default may be made to the Court and a judgment against Texmaster Express, Inc. dba

Texmaster Express Medical Couriers in the amount of $80,000.00 may be taken. Upon execution

of the Settlement Agreement, Plaintiffs agree to to the voluntary dismissal with prejudice of all

claims the subject of this action.

       2.      Prior to engaging in settlement discussions, Plaintiffs and Defendants

independently and thoroughly investigated the claims and defenses at issue both formally and

informally. The Parties conducted an analysis of both potential liability and damages issues.

Further, Defendants provided information as to their limited income and assets which allowed

Plaintiffs’ counsel to reach reasonable conclusions about their judgmentworthiness. These

pre-mediation efforts provided the Parties with insight as to the potential liability of Defendants,

the potential range of recovery at issue and the potential collectability of any judgment. Each

party’s participation in pre-mediation discovery and analysis, coupled with counsel’s familiarity


JOINT MOTION FOR COURT APPROVAL OF
SETTLEMENT AND DISMISSAL WITH PREJUDICE – Page 2
   Case 3:16-cv-03334-S Document 142 Filed 04/24/19                 Page 3 of 6 PageID 505



with the facts and the law, allowed the Parties to intelligently, and in good faith, weigh both the

the risks and benefits of continued litigation at mediation and to reach agreement at mediation.

       3.      Because the records maintained by Defendants for each of Plaintiffs does not

permit calculation of the alleged minimum wage and overtime compensation claimed to be due

by Plaintiffs with any accuracy, the proposed distribution of the Settlement Payment beyond the

amounts payable for attorney’s fees and expenses is to be based upon the length of employment

of Plaintiffs. Subject to final determination of amounts due upon approval of this motion and the

award made of attorney’s fees and expenses sought by it, it is proposed that employees with a

year or more of service receive $500, those with six months to a year of service receive an

amount between $250 and $400, those with three to six months of service receive an amount

between $150 and $250, those with one to three months of service receive an amount between

$100 and $150 and those with one month or less of service receive an amount between $51 and

$100. Further, in recognition of their service, the Parties have designated service awards of

$1,000 to named Plaintiff Christian Clarke and $500 each to named Plaintiffs Aisha Kehinde,

Jessica White, Jacob Vasquez and Benny Burnham. The proposed service awards are fair and

reasonable. In re Heartland Payment Sys., 851 F. Supp. 2d 1040 (S.D. Tex. 2012))(stating that

courts commonly permit payment to class representatives above the amounts received by class

members generally). “When determining [service] awards, courts may consider a variety of

factors, including risks to class representatives in commencing the suit, personal difficulty

encountered by class representatives, the amount of time and effort spent by class

representatives, and the personal benefit enjoyed by representatives as a result of the litigation.”

Tarlecki v. Bebe Stores, Inc., C 05-1777 MHP, 2009 U.S. Dist. LEXIS 102531 (N.D. Cal. Nov. 3,

JOINT MOTION FOR COURT APPROVAL OF
SETTLEMENT AND DISMISSAL WITH PREJUDICE – Page 3
   Case 3:16-cv-03334-S Document 142 Filed 04/24/19                 Page 4 of 6 PageID 506



2009); Van Vranken v. Atl. Richfield Co., 901 F. Supp. 294 (N.D. Cal. 1995); Silva v. Tegrity

Pers. Servs., et al., No. 4:13-cv-00860, 986 F. Supp. 2d 826 (S.D. Tex. 2013).

       4.      This Court should approve the Settlement Agreement. District courts such as this

Court may approve settlements in collective action cases when the terms are “fair, reasonable, and

adequate.” Parker v. Anderson, 667 F. 2d 1204, 1208-09 (5th Cir.), cert. denied, 459 U.S. 828, 103

S.Ct. 63, 74 L. Ed.2d 65 (1982); Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350 (11th

Cir. 1982). If the proposed settlement reflects a reasonable compromise over contested issues, the

settlement should be approved. Quintanilla v. A & R Demolition, Inc., No. H-04-1965, 2008 U.S.

Dist. LEXIS 37449, at *6-7 (S.D. Tex. May 7, 2008). In making this determination, courts are to

consider the following six factors: (1) whether the settlement was a product of fraud or collusion;

(2) the complexity, expense, and likely duration of the litigation; (3) the stage of the proceedings

and the amount of discovery completed; (4) the factual and legal obstacles prevailing on the

merits; (5) the possible range of recovery and the certainty of damages; and (6) the respective

opinions of the participants, including class counsel, class representative, and the absent class

members. Parker, 667 F.2d at 1209; City of Detroit v. Grinnell, Co., 495 F.2d 448 (2nd Cir. 1974)

(same). Federal courts routinely approve similar settlements reached in FLSA collective actions.

See, e.g., Beckman v. Keybank, N.A., 293 F.R.D. 467 (S.D.N.Y. 2013); Davis v. J.P. Morgan

Chase & Co., 827 F. Supp. 2d 172 (W.D.N.Y. 201); Mallin v. Nat’l City Mortg. Inc., No.

05-1499-SC, 2007 U.S. Dist. LEXIS 87213 (N.D. Cal. Nov. 27, 2007). Unlike settlements under

Fed. R. Civ. P. 23, FLSA settlements are not subject to a two-stage process of preliminary

approval followed by final approval, and no final fairness hearing is required. Hatter v. OB

Enters., LLC, No. 2:13-CV-1076-TMP, 2014 U.S. Dist. LEXIS 111969, at *1-2 (N.D. Ala. Aug.

JOINT MOTION FOR COURT APPROVAL OF
SETTLEMENT AND DISMISSAL WITH PREJUDICE – Page 4
   Case 3:16-cv-03334-S Document 142 Filed 04/24/19                 Page 5 of 6 PageID 507



13, 2014); Moore v. Ackerman Inv. Co., No. C 07-3058-MWB, 2009 U.S. Dist. LEXIS 78725, at

*6 (N.D. Iowa Sept. 1, 2009). However, Court approval of this collective action settlement

remains necessary to effectuate a valid and enforceable release) of FLSA claims. See, e.g.,

Bernstein v. Target Stores, Inc., No. 13-cv-01018 NC, 2013 U.S. Dist. LEXIS 154464, at *1 (N.D.

Cal. Oct. 28, 2013); Aros v. United Rentals, Inc., No. 3:10-cv-73 (JCH), 2012 U.S. Dist. LEXIS

104429, at *6 (D. Conn. July 26, 2012).

       5.      The amount of attorney’s fees and expenses specified in the Settlement

Agreement is equal to 33 1/3 % of the total Settlement Payments plus expenses of Plaintiffs’

attorneys of $8,777.67. Robert E. Goodman, Jr. and Gennaro Duterroil have together devoted

approximately 80 hours to rendering legal services in this action, such that the attorney’s fees

represent an hourly fee of $250, substantially less than the hourly fees of such attorneys in hourly

matters based on their respective 38 and 16 years of legal experience. Also, of $15,430.67 in

actual total expenses, Plaintiffs’ counsel are seeking recovery of only $11,249.12. Affidavits of

Robert E. Goodman, Jr. and Gennaro Duterroil in support of such attorney’s fees, and

documenting their expenses, are attached. Each of the named Plaintiffs represented by counsel

signed a 40% contingency fee contract with Plaintiffs’ attorneys. This consideration also makes

reasonable the proposed fee of 33 1/3 %. The Fifth Circuit has acknowledged as much by

favorably citing a district court opinion that “the customary contingency is likely to have been

more like 35 to 40 percent.” Vela v. City of Houston, 276 F.3d 659 (5th Cir. 2001). Plaintiffs

accordingly pray for an award of attorney’s fees of $20,000 and expenses of $11,249.12

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs and Defendants pray that the

Settlement Agreement be approved.

JOINT MOTION FOR COURT APPROVAL OF
SETTLEMENT AND DISMISSAL WITH PREJUDICE – Page 5
   Case 3:16-cv-03334-S Document 142 Filed 04/24/19                 Page 6 of 6 PageID 508



Respectfully submitted,

/s/Robert E. Goodman, Jr.                     /s/Laura Docker James
Robert E. Goodman, Jr.                        Laura Docker James
State Bar No. 08158100                        State Bar No. 2405562
Kilgore & Kilgore PLLC                        Bracket & Ellis
3019 Carlisle Street                          A Professional Corporation
Dallas, Texas 75204                           100 Main Street
(214) 379-0831                                Fort Worth, Texas 76102-3090
(214) 379-0840 (telecopy)                     (817) 338-1700
                                              (817) 870-2265 (telecopy)
/s/Gennaro Duterroil
Gennaro Duterroil                             COUNSEL FOR DEFENDANTS
State Bar No. 24068093
18756 Stone Oak Pkwy., Suite 200
San Antonio, TX 78258-4001
(210) 948-5645
(210) 495-4670 (telecopy)

COUNSEL FOR PLAINTIFFS




                              CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served on all counsel
and parties of record by electronic service in accordance with the local rules of United States
District Court for the Northern District of Texas, Dallas Division this 24th day of April 2019.



                                                   /s/Robert E. Goodman Jr.
                                                   Robert E. Goodman Jr.




JOINT MOTION FOR COURT APPROVAL OF
SETTLEMENT AND DISMISSAL WITH PREJUDICE – Page 6
